            Case 8:23-cv-01333-FWS-JDE                                         Document 63-12 Filed 03/27/25                                              Page 1 of 1 Page
                                                                                    ID #:1033
                                                                                   Mail - Muthoka, Jackline - Outlook
11/10/2019


    RE: Disabili ty d ecisi o n letter

    Rosezetta He11deison < r.henderson@uci.edu >

     To Muffioka, Jac:k~ne <jmuthoka@hsuci edu>
    Cc: j ackiemuthoka87@gmail com <jackiemu1hoka87@gmaol com >
    Hi Jackie,

    I do l101ie you a, c well. s~cing you j n the. lobbv toda\'. remindr.d me that I needed to double to cherk t o see if I responded to you. I t calizerl that I did not, rny apologies. I w~s
    - ~ ft•. b(l'1 __!:! \MI 11ri..•,I~               11;1               11   .I ,1   I   (! .. r11,tl1tll1   '{Wirt~


    Let m e know if yon have any quesnon~.

    Best.

    Rusezett a


     From : Muthoka, Jackline <jmuthoka@hs.uci.edu>
     Se nt: Monday, Novem ber 04, 2019 2: 16 PM
     To: Rosezetta Henderson <r.hende, son@uci.edu>
     Cc: Jackline muthoka <jackiemuthoka87@grnail.com>
     Subject : Disability dedsior, l etter



             Good .tflcrnoon Rrosczctw.

             I hope y,,u arc doing \\d i I w~s womlc 11ng ,r ym, can email me the ,k ci$ion cmail/lctlc1' that you receive,! f,om NBM E ~t.:.iti11g Iha! n,y request Jid no t
             quali l\• as a d 1sah1l11y from l hc .:mail you sent m e on May 07. 2018 attached below.

             T honk you .

             .l ackic




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